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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      ) 2:03-cr-0147 FCD
                                    )
12                  Plaintiff,      )
                                    ) STIPULATION; ORDER
13        v.                        )
                                    )
14   LUIS DELGADO,                  )
                                    )
15                                  )
                    Defendant.      )
16   _______________________________)
17        Defendant Luis Delgado, through Scott Tedmon, Attorney At
18   Law, and the United States of America, through Assistant U.S.
19   Attorney Kenneth J. Melikian, agree to vacate the status
20   conference scheduled for April 21, 2008.        The parties further
21   stipulate that a status conference be placed on the court’s May
22   27, 2008, calendar.
23        This is an old multi-defendant case in which the defendant
24   recently made his initial appearance.       The case is closed as to
25   all other defendants.    Because, in part, of the age of the case,
26   the government is having a difficult time locating the case’s
27   discovery.   The government has informed defense counsel that if
28   the discovery is not located before May 27th, the government will

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 1   move to dismiss the case against the defendant.
 2        Accordingly, the parties request that the status conference
 3   in this case be continued to May 27, 2008.        All parties    agree
 4   that time should be excluded through May 27, 2008, from
 5   computation under the Speedy Trial Act pursuant to local code T4
 6   (18 U.S.C. § 3161(h)(8)(B)(iv)) so that the discovery can be
 7   obtained, thus affording the defendant reasonable time to prepare
 8   his case.
 9   DATED: April 18, 2008               Respectfully submitted,
10                                       McGREGOR W. SCOTT
                                         United States Attorney
11
12
                                     By:/s/ Kenneth J. Melikian
13                                      KENNETH J. MELIKIAN
                                        Assistant U.S. Attorney
14
15   DATED: April 18, 2008               /s/ Kenneth J. Melikian
                                         SCOTT TEDMON
16                                      Attorney for Defendant Luis
                                         Delgado
17                                       (Signed by Kenneth J. Melikian
                                         per authorization by Scott
18                                        Tedmon)
19
20
21
22       IT IS SO ORDERED.
23
     DATED: April 18, 2008
24
25
                                   _______________________________________
26                                 FRANK C. DAMRELL, JR.
                                   UNITED STATES DISTRICT JUDGE
27
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